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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :      Criminal No. 1:21-cr-204
                                             :
MATTHEW BLEDSOE,                             :      Honorable Chief Judge Beryl A. Howell
                                             :
                      Defendant.             :

        JOINT STATUS REPORT OF DEFENDANT BLEDSOE’S PLEA OFFER

       In response to the Court’s January 14, 2022 Minute Order, the United States and Defendant

Matthew Bledsoe submit this joint status report. The government has made one plea offer to

Defendant Bledsoe. That plea offer is currently set to expire on January 28, 2022.

       Since the last status conference, the government has produced additional discovery to

Defendant Bledsoe and has been in communication with his counsel regarding the status of the

case. Because Defendant needs time to review the newly provided discovery and confer with his

counsel regarding the plea agreement, the parties would both be amenable to an adjournment of

the January 21, 2022 status conference until a date and time after January 28, 2022.

                                                    Respectfully submitted,

                                                    MATTHEW GRAVES
                                                    United States Attorney
                                                    DC Bar No. 481052


 /s/ Mitra Jafary-Hariri                     /s/ Jerry Ray Smith, Jr. (with consent)
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